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S            UNI1n STATES
             INSTITUTE or P\cE
             Making Peace Possible




    REMOVAL OF GEORGE E. MOOSE AS PRESIDENT AND APPOINTMENT OF
               KENNETH JACKSON AS ACING PRESIDENT

WHEREAS, the United States Institute for Peace's (USIP) Board of Directors may remove the
agency's president under 22 U.S.C. § 4606(a);

WHEREAS, USIP's Board of Directors may appoint the agency's president under 22 U.S.C. §
4606(a);

Be it RESOLVED that as of March 14, 2025, Mr. George E. Moose is removed from his position
as IJSIP's president and Mr. Kenneth Jackson is designated as IJSlP's acting president with all
the powers delegated by the Board of Directors to that role.



                                                 CERTIFIED:



                                                 Peter A. Garvin
                                                 President of the National Defense University
                                                 Member ofliSiP's Board of Directors




                                                                                          rs




                                                 Marco A. Rubio
                                                 U.S. Secretary of State
                                                 Member of USIP's Board of Directors




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